      Case 4:12-cv-00577-WS-CAS Document 96 Filed 11/22/13 Page 1 of 1



                                                                           Page 1 of 1

                    UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF FLORIDA
                            TALLAHASSEE DIVISION




EDITH COULTER, individually and
as assignee of VICTOR LEE HUSZAGH,

      Plaintiff,

v.                                                        4:12cv577-WS/CAS

STATE FARM MUTUAL AUTOMOBILE
INSURANCE COMPANY,

      Defendant.




                           NOTICE TO THE PARTIES

      Before the court are the parties' cross-motions for summary judgment. Docs.

58 & 61. The parties are hereby notified that the court will take the motions under

advisement on December 9, 2013. Neither oral argument nor any other hearing is

contemplated.

      DONE AND ORDERED this            22nd      day of     November       , 2013.




                                s/ William Stafford
                                WILLIAM STAFFORD
                                SENIOR UNITED STATES DISTRICT JUDGE
